       Case 1:21-cv-02587-AS-SLC Document 218 Filed 02/02/24 Page 1 of 2
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                                              February 2, 2024

VIA ECF
Hon. Arun Subramanian
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St. Courtroom 15Aknkn
New York, NY 10007-1312


       Re:     Flynn et al, v. Cable News Network, Inc., No. 1:21-cv-02587-AS-SLC – Letter
               Regarding Supplemental Authority


Dear Judge Subramanian:

        We represent Defendant Cable News Network Inc. (“CNN”) in the above-referenced
action. We write to notify the Court of an order issued on January 30, 2024, in the matter Flynn
v. Stewartson et al., No. 2023 CA 004264 (Fla. 12th Cir. Ct. Jan. 30, 2024), pending in the Twelfth
Judicial Circuit Court in and for Sarasota County, Florida, which supports CNN’s argument in its
summary judgment motion, ECF Nos. 179, 210. A copy of the decision is attached hereto, as
Exhibit A. A copy of the relevant motion briefing is attached hereto, as Exhibit B. The plaintiff in
Flynn v. Stewartson is General Michael Flynn, brother and brother-in-law, respectively, to
Plaintiffs Jack and Leslie Flynn. Gen. Flynn, like Plaintiffs, is represented by the Binnall Law
Group.

         In relevant part, in Flynn v. Stewartson, Gen. Flynn sued defendant Rick Wilson for
retweeting “Also, FYI, Mike Flynn is ‘Q.’” Gen. Flynn argued that this phrase defamed him by
associating him with QAnon, as Plaintiffs likewise argue here under Rhode Island’s false light
statute. The court rejected that argument and granted that defendant’s motion under Florida’s anti-
SLAPP law, and in the alternative, his motion for summary judgment. This ruling is relevant to
CNN’s summary judgment papers on the elements of actual malice and material falsity.

        First, CNN argued in its briefing that Plaintiffs must establish by clear and convincing
evidence that CNN acted with actual malice in airing the Report because the Report deals with
matters of indisputable public concern,. Br. 32 (citing Time, Inc. v. Hill, 385 U.S. 374, 387-88
(1967)). In their opposition, Plaintiffs claimed that the Report, which showed how mainstream
political figures such as Gen. Flynn promoted QAnon, is not a matter of public concern. Gen.
Flynn made precisely this argument in Stewartson and the court rejected it, holding instead that
that Florida’s anti-SLAPP law, which is directed to “free speech in connection with public issues,”
       Case 1:21-cv-02587-AS-SLC Document 218 Filed 02/02/24 Page 2 of 2

Hon. Arun Subramanian
February 2, 2024
Page 2

applied. The court reached that decision because the defendant “easily demonstrated substantial
national discussion concerning … QAnon, and Gen. Flynn’s interactions or presumed interactions
with [it]” by pointing “to several articles concerning QAnon, generally, and Gen. Flynn’s potential
association with it, specifically.” As the court concluded, “these are public issues of the highest
order that the First Amendment is designed to protect.” CNN, like Wilson, also pointed to a
substantial factual record and an expert report easily establishing a national discussion about
QAnon and Plaintiffs’ role in it, see Br. 32-33; Declaration of Katherine M. Bolger (“Bolger
Decl.”) Ex. 6 . In fact, Wilson relied on some of the very same materials as CNN did in its motion,
including the Oath Video, and a July 7, 2020 CNN article about the Oath Video, along with several
other shared exhibits. Compare Ex. 21 to Ex. B with Bolger Decl. Ex. 92. Here, as in Stewartson,
these materials establish the Report is a matter of public concern.

         Second, CNN argues that Plaintiffs failed to establish that the Report is materially false
because of the undisputed evidence of Plaintiffs’ voluntary public association with QAnon and
their concession that they had a “friendly” “alignment with QAnon.” Opp. 22. In Stewartson, the
Court reached that same conclusion on a summary judgment standard about Gen. Flynn based on
a similar record. There, the Court held that Gen. Flynn could not establish falsity because Wilson
“came forward with evidence demonstrating a factual basis from which [Wilson] made the … ‘Q’
comments,” including “numerous news articles [that] tie a close link between [Gen. Flynn] and
the QAnon movement.” CNN offered similar evidence demonstrating the same about Plaintiffs—
in fact, there is even more evidence in this case than in Stewartson. In addition, as with the issue
of public interest, Wilson relied in many cases on the very same evidence that CNN put before this
Court, including a July 7, 2020 CNN article, news articles discussing General Flynn’s sale of
QAnon-related merchandise that included the QAnon Slogan WWG1WGA (compare Ex. 21 with
Ex. B with Bolger Decl. Ex. 88), and screen grabs of WWG1WGA merchandise sold by The Shirt
Show. Most significantly, the court’s conclusion that Gen. Flynn could not prove the falsity of the
sentence “Also, FYI, Mike Flynn is ‘Q,’” rested on Gen. Flynn posting the very same Oath Video
that Jack himself posted—twice. Br. 22-23; compare Ex. 17 to Ex. B with Bolger Decl. Ex. 38. In
short, the evidence is even more compelling here than in Stewartson and this Court should reach
the same result.

       Thank you for your consideration.

                                              Respectfully submitted,

                                              Davis Wright Tremaine LLP

                                              /s/ Katherine M. Bolger

                                              Katherine M. Bolger


cc:    Counsel of Record (via ECF)
